Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 1 of 19 Pageid#: 3928
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    1                          UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
    2                            CHARLOTTESVILLE DIVISION

    3   ELIZABETH SINES, et al,

    4                          Plaintiffs,
                                                 No. 3:17-cv-72
    5         vs.                                Charlottesville, Virginia
                                                 February 21, 2019
    6   JASON KESSLER, et al,

    7                          Defendants.

    8                  TRANSCRIPT OF TELEPHONIC DISCOVERY HEARING
                           BEFORE THE HONORABLE JOEL C. HOPPE
    9                        UNITED STATES MAGISTRATE JUDGE.

  10    APPEARANCES:

  11    For the Plaintiffs:

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  19

  20    Appearances Continued Next Page

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  25          Proceedings recorded by FTR; computer-assisted transcription.
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 2 of 19 Pageid#: 3929
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    8                   ****************************************

    9         (Call to Order of the Court at 3:06 p.m.)

  10                THE COURT:     Hi.     This is Joel Hoppe.

  11                Who is on the line for the plaintiffs?

  12                MS. TENZER:     Good afternoon, Your Honor.        This is

  13    Gabrielle Tenzer at Kaplan Hecker & Fink, on behalf of the

  14    plaintiffs.    I'm here with my colleague Mike Bloch and also Yotam

  15    Barkai from the Boies Schiller firm.            And I believe that there may

  16    be others on the line as well.

  17                MR. MILLS:     This is David Mills, from Cooley, also for

  18    the plaintiff.

  19                THE COURT:     All right.        Well, good afternoon.

  20                And then who do we have for the defendants?

  21                Mr. Kolenich, are you on the phone?

  22                MR. KOLENICH:        Yes, sir,

  23                THE COURT:     All right.        Good afternoon.

  24                And who else do we have for the defendants?

  25                MR. DiNUCCI:     This is John DiNucci, for Mr. Spencer, Your
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 3 of 19 Pageid#: 3930
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    1   Honor.

    2               THE COURT:    All right.     Good afternoon.

    3               MR. JONES:    Bryan Jones here for --

    4               THE COURT:    All right.     Mr. Jones?

    5               MR. JONES:    Yes.

    6               THE COURT:    All right.     All right.   Good afternoon.

    7               And who else do we have?       Anyone else?

    8               MR. CAMPBELL:    Yes, sir.     This is Dave Campbell, for

    9   Mr. Fields.

  10                THE COURT:    All right.     Mr. Campbell.

  11                All right.    Counsel, I have reviewed the plaintiffs'

  12    email from earlier today.        And there are a number of motions

  13    concerning status of counsel.

  14                And let me also say that this hearing is being recorded

  15    by the Court's FTR system.        So there is a record being made of the

  16    hearing.

  17                As to the motions regarding the status of counsel,

  18    there's one filed by Mr. Stern that I do intend to deny, because

  19    you can't substitute counsel if there isn't another attorney to

  20    step in to represent the entity.         Now, that is not going to

  21    ultimately resolve the issue, because, Mr. Kolenich, you have filed

  22    the motion to withdraw.      And then, of course, Mr. -- is it Schoep?

  23    Is that how his name is pronounced?

  24                MR. KOLENICH:    Schoep, Your Honor.

  25                THE COURT:    Schoep, has also filed a motion to represent
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 4 of 19 Pageid#: 3931
                                                                              4



    1   his self.

    2               So what I intend to do on all of those motions,

    3   Mr. Kolenich, your motion and Mr. Schoep's motion, is to have a

    4   conference call on those motions -- have a hearing on them, and

    5   also have Mr. Stern on the phone, and explain that any entities

    6   need to be represented by an attorney and that, you know, they will

    7   need to -- Mr. Schoep and Mr. Stern will have to hire another

    8   attorney, and do it, you know, expeditiously, if that's their

    9   intent, and then also discuss their discovery obligations during

  10    that hearing.     And I think we need to do that soon.       I suggest we

  11    will do it next week.       And I can get Karen to contact you-all to

  12    set that up.

  13                Now, I want to take up the issues that are identified in

  14    Ms. Tenzer's email.       And then, if there's some other issues, we can

  15    address those as well.       The first one is the third-party vendor

  16    contract.

  17                And, Ms. Tenzer, other than Mr. Schoep and then, you

  18    know, NSM and NF, have the other defendants signed the contract?

  19                MS. TENZER:     Defense counsel has signed on behalf of all

  20    of the other defendants, with the exception of the other now pro se

  21    defendants, including Mr. Moseley and Mr. Heimbach.

  22                THE COURT:     Okay.   All right.   And -- all right.

  23                So is the vendor ready to go forward with those

  24    defendants?

  25                MS. TENZER:     Are you asking me, Your Honor?      This is
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 5 of 19 Pageid#: 3932
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    1   Ms. Tenzer.

    2               THE COURT:    Yes, as far as you know.

    3               MS. TENZER:     Okay.   I believe so.

    4               I will say, you know, we participated in getting the

    5   contract signed.     And the way the contract is set up, once it is

    6   signed, the defendants are supposed to interact with the vendor.

    7   And I think the idea was that we would be involved as little as

    8   possible, in order to give -- preserve the defendants', you know,

    9   confidentiality and privilege and so forth.

  10                There is a reporting requirement.       But since the contract

  11    wasn't signed until this week, we won't be getting our first report

  12    until next week.

  13                I do understand that the vendor has reached out to the

  14    defendants.    But it is my understanding that as of yesterday

  15    nothing had been handed over to the vendor.         But I would also -- I

  16    think the defense counsel could also speak to the status of that.

  17    But it is my understanding that that has not happened yet.

  18                THE COURT:    Okay.

  19                All right.    So, Mr. Kolenich, how about for your clients,

  20    as far as their interactions with the vendor and providing devices

  21    and access to social media, where is that process?

  22                MR. KOLENICH:     We are in touch with the vendor, Your

  23    Honor.   And they have given us a multi-step process.          The first

  24    step is providing account credentials for various accounts

  25    identified in our ESI declarations, which we're in the process of
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 6 of 19 Pageid#: 3933
                                                                              6



    1   doing.   On my end, I would expect that to be done no later than

    2   Monday, to the vendor.       At that point, they are going to give us

    3   specific instructions on turning over the devices.          So while no

    4   devices have been turned over yet, that's in process and will be

    5   done quickly.

    6               THE COURT:     Okay.     And that's according to the vendor's

    7   schedule?

    8               MR. KOLENICH:     Yes.

    9               THE COURT:     All right.

  10                MR. KOLENICH:     Yes.

  11                THE COURT:     All right.     Mr. DiNucci, is that the same for

  12    you and Mr. Spencer?

  13                MR. DiNUCCI:     Your Honor, I guess -- sometime, I believe

  14    it was yesterday, I had received -- I believe other counsel had

  15    -- an email from the third-party vendor, setting forth a list of

  16    pieces of information, such as credentials, as Monte called it,

  17    that they are going to need to access devices.          And then they asked

  18    particular to my client's social media accounts, some of which are

  19    disabled or shut down, whatever the term is.

  20                And I've exchanged a series of emails with IDS this

  21    morning about what they need from me, because I don't, frankly,

  22    understand a whole lot of this technical stuff.          And I'm awaiting

  23    instructions on how and -- you know, to get the devices to them.

  24    And I have got several here.          I'll probably hand-deliver those, or

  25    have my law clerk do so.       To the extent that they are going to be
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 7 of 19 Pageid#: 3934
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    1   going through other devices, I have got to make arrangements with

    2   Mr. Spencer, who lives in Montana, to get those devices.

    3                THE COURT:     Okay.

    4                MR. DiNUCCI:     But communicating with IDS to get this ball

    5   rolling.

    6                THE COURT:     All right.

    7                And, Mr. Jones, how about for your clients?

    8                MR. JONES:     Yeah.   I'm in the same step.    I have been in

    9   communication with them about getting the credentials passed over.

  10    It should be Monday at the latest.         I would hope I could get that

  11    to them probably by tomorrow.         And then I think they are going to

  12    let us know how they want us to turn over the devices.

  13                 THE COURT:     Okay.

  14                 All right.     Well, it sounds like that's proceeding, at

  15    least, according to what the vendor has asked.

  16                 Ms. Tenzer, I know you have indicated it will take about

  17    four weeks for the vendor to process information after they receive

  18    the devices and credentials and passwords and so forth.           Is there

  19    -- is there any ability on the vendor's part to expedite that?

  20                 MS. TENZER:     I don't believe so, Your Honor.     That's both

  21    what I would say -- call on the front end and the back end, so all

  22    of it.     But I don't think that they can expedite it in any way.           It

  23    is a number of devices and social media accounts.           And so I think

  24    they are hoping to process it as quickly as they possibly can, but

  25    it is a lot of devices and accounts that they are going to have to
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 8 of 19 Pageid#: 3935
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    1   be imaging.

    2               THE COURT:    Okay.   All right.

    3               Let me back up just a minute.

    4               Mr. Kolenich, what is -- what is the holdup for -- your

    5   current clients -- and I know that that status is somewhat in

    6   question now -- what is the holdup or the problem with them as far

    7   as signing the contract and providing the devices?          I'm not asking

    8   you to get into attorney-client privileged information, but can you

    9   tell me what is going on?

  10                MR. KOLENICH:    Sure, Your Honor.

  11                The contract is signed.      The clients that I

  12    unquestionably represent, it is signed.         The holdup on getting

  13    account credentials is simply communicating with them and getting

  14    the responses, which it is common for them to answer in a couple of

  15    days after receiving that request.        Regardless of how many times I

  16    call, how many messages I send, that is not uncommon.           Some of

  17    them, for a variety of reasons, don't check their messages every

  18    day or do not physically wear their phone at all times so that they

  19    get a message, the way you or I do, when it essentially comes in.

  20    So that's the nature of the delay.        But it usually is not bad.        It

  21    is a couple of days.      And that's why I say I expect to have it in a

  22    couple of days.     And the vendor will have it on Monday.        And then

  23    we can begin the process of physically handing over the devices.

  24                But there will always -- at least there always has been

  25    until now -- be this sort of three- to four-day delay or lag time
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 9 of 19 Pageid#: 3936
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    1   between me reaching out to them and them answering.          Unlike a

    2   normal case where, if necessary, I can go physically track down a

    3   client who is in my city, that is not the case here.

    4               THE COURT:    Okay.   All right.    But you think that you-all

    5   will have the credentials and then the -- and any social media

    6   information and the devices from the National Front and Schoep and

    7   NSM within a couple of days?

    8               MR. KOLENICH:    No, sir.     They are not communicating with

    9   me.   But -- Schoep has fired me, unquestionably.         But, no, I will

  10    not have anything from them.       And they are not a party to this

  11    contract, because I'm unauthorized to sign for them at this point.

  12                THE COURT:    Okay.   I'm sorry.    That's who I was asking

  13    about with my last question.

  14                MR. KOLENICH:    I completely misunderstood you, Your

  15    Honor.

  16                I can't make any -- yeah, I don't believe I'm authorized

  17    to act on behalf of either of those entities.         And I have certainly

  18    been fired every place by Mr. Schoep at this point.          So I can't

  19    possibly bind them to a contract.         And they are not communicating

  20    with me anyway.     So, no, I have no ability to get their devices or

  21    do anything in regards to those forms.

  22                THE COURT:    And what is -- if you can tell me, what is

  23    their problem with doing those?         I mean, why are they not signing

  24    the contract?

  25                MR. KOLENICH:    I can't -- I don't have the exact answer
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 10 of 19 Pageid#: 3937
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    1    to that.    I have a theory, based on privileged information.         But as

    2    far as what is going on with them, they have been taken over

    3    legitimately, legally, by this Mr. Stern.        And he has authorized

    4    -- you know, he is the president of that organization now.           So

    5    -- and he hasn't communicated with me at all, despite a request to

    6    put me in touch with him, to find out what is going on.

    7                So why they won't sign it or what they intend to do, I do

    8    not know.    What little I could theorize would be based on

    9    privileged information, so I can't say.

   10                THE COURT:   Okay.    All right.   Well, I think what we need

   11    to do on that is, then, like I said earlier, we'll get -- or at

   12    least attempt to get Mr. Stern and Mr. Schoep on the phone.

   13    Mr. Kolenich, I'll have you on as well.        And we'll address your

   14    motion to withdraw and Mr. Schoep's motion to represent himself and

   15    then also address the discovery issues.        And we'll try and do that

   16    -- I'll try and do that next week.

   17                MR. KOLENICH:    Okay.

   18                THE COURT:   All right.

   19                All right.   Ms. Tenzer, on the production of the

   20    documents from the devices and social media accounts, have you-all

   21    -- it sounds like you-all had talked some about the process for

   22    search terms and so forth.       Have you-all talked about a time frame

   23    for -- after the information is obtained or processed by the

   24    third-party vendor and then given to the defendants, a time frame

   25    for the defendants to then produce it -- produce responsive
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 11 of 19 Pageid#: 3938
                                                                               11



    1    nonprivileged documents to the plaintiffs?

    2               MS. TENZER:    We haven't, Your Honor, because I think part

    3    of the issue there will be what the volume is, which at this point

    4    we don't know.    So I think it -- we haven't discussed it.         We are

    5    happy to discuss it, but I would think that it would be difficult

    6    for defense counsel to -- or for us to engage in some sort of

    7    meaningful discussion until we know what the volume is.

    8               THE COURT:    All right.

    9               All right.    And is that something that you-all just

   10    aren't going to know until the vendor actually provides it?           Or

   11    will the vendor be able to give some estimates after they have

   12    started their process?

   13               MS. TENZER:    I -- I think it will depend on what they

   14    find when they start trying to image the devices.          And then it will

   15    also depend on the search terms and the number of hits and so

   16    forth, not to get into the weeds.       But if the defendants are okay,

   17    we could try to talk with the vendor and find out sort of when

   18    -- when in the process we may have a better sense.          But I think it

   19    is probably not going to be -- well, since they don't have any of

   20    the devices or the social media accounts yet, and it sounds like

   21    they are not going to have them for another week, I don't think

   22    they will be able to tell us anything.

   23               THE COURT:    All right.

   24               All right.    So I do think that it will be important to

   25    have a deadline for that production once the documents are
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 12 of 19 Pageid#: 3939
                                                                               12



    1    provided.    And I also think that it would be -- probably make sense

    2    to have a procedure to -- in place to bring disputes before me for

    3    resolution quickly, if any disputes do arise about what documents

    4    are actually produced.       So that's -- I think that's --

    5                MS. TENZER:     We totally agree, Your Honor.

    6                THE COURT:    All right.   And I think that's something that

    7    you-all should discuss and see if there's an agreement.          But what

    8    I'm -- you know, what I'm contemplating is that if there are

    9    documents withheld and there's a dispute, that there would be

   10    -- that the defendants would need to file a motion for a protective

   11    order, you know, within five days or so after the date for the

   12    production; plaintiffs respond in a similar time; and then we'll

   13    have a hearing, you know, very soon thereafter.         And it may -- it

   14    may even help to have the defendants submit in camera -- depending

   15    on the volume of the documents, but in camera the documents that

   16    are withheld.    We will need to have this thing move along

   17    expeditiously.

   18                MS. TENZER:     Again, we completely agree, Your Honor.

   19                THE COURT:    All right.

   20                All right.    Mr. Kolenich, you -- anything that you want

   21    to weigh in on that, the process for the production?          You don't

   22    have to.    It is something I just kind of want to raise that you-all

   23    can discuss and then we can get a procedure in place.

   24                MR. KOLENICH:     No, I have nothing to add, Your Honor.        I

   25    think that all attorneys are on the same page here.          And we're
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 13 of 19 Pageid#: 3940
                                                                               13



    1    aware of the tight time frame.         I can't imagine there's much we are

    2    going to be trying to withhold or assert a privilege on with this

    3    stuff.

    4               THE COURT:     All right.

    5               All right, Mr. DiNucci?

    6               MR. DiNUCCI:     I have nothing to add, Your Honor.

    7               THE COURT:     All right.

    8               And Mr. Jones?

    9               MR. JONES:     Nothing to add, Your Honor.

   10               THE COURT:     All right.

   11               How about the consents for Twitter?

   12               MS. TENZER:     Your Honor, this is Ms. Tenzer.

   13               We did raise that with defendants' counsel during our

   14    meet-and-confer yesterday.        And they indicated that they -- I don't

   15    want to speak for them, but we understand that they would be

   16    willing to provide those once we work that out with Twitter in

   17    terms of what would be needed from -- you know, from Twitter's

   18    perspective.    We had a call with Twitter's counsel this morning.

   19    They needed to speak with their client.        And we're trying to move

   20    that forward as quickly as we can.         We reached out to their counsel

   21    as soon as we got the decision, which we wanted to thank you for

   22    helping to get filed.      And, as I said, we spoke with their counsel

   23    this morning.    And we're trying to move that forward quickly.

   24               THE COURT:     Okay.

   25               All right.     And certainly that would be something -- the
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 14 of 19 Pageid#: 3941
                                                                               14



    1    Twitter accounts would be something we would want to address during

    2    the call next week with Mr. Stern and Mr. Schoep on the phone as

    3    well, if possible.

    4                 All right.     Other than the schedule, are there any other

    5    issues that we need to address today about discovery?

    6                 MS. TENZER:     I think we have covered everything we had in

    7    mind for today, Your Honor, other than the schedule.          Thank you.

    8                 THE COURT:     All right.

    9                 Mr. Kolenich, anything else that we need to address about

   10    discovery?

   11                 MR. KOLENICH:     Nothing else, Your Honor.

   12                 THE COURT:     All right.    Mr. DiNucci?

   13                 MR. DiNUCCI:     There are several issues I have with the

   14    plaintiffs about discovery.         I owe Ms. Tenzer a letter about a

   15    couple of them.     I'll take one more crack at resolving them, and

   16    then we may be presenting any remaining issues to the Court.

   17                 THE COURT:     Okay.

   18                 All right.     Mr. Jones, anything else?

   19                 MR. JONES:     Nothing from me, Your Honor.

   20                 THE COURT:     All right.

   21                 And, Mr. Campbell, I'm not, you know, prohibiting you

   22    from weighing in, but I think that, you know, given your client's

   23    situation, there's probably not much for you to add at this point.

   24                 MR. CAMPBELL:     No, sir.    Thank you.

   25                 THE COURT:     All right.
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 15 of 19 Pageid#: 3942
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    1               Ms. Tenzer, on the issue of the schedule, I know this is

    2    -- I know things are taking -- you know, taking longer and it is a

    3    difficult process.     You know, I want to see -- you know, I think

    4    what I would like to see is how this final, you know, ESI is being

    5    -- how the production is going to go forward, see if there's a way

    6    to get it done with -- you know, with reasonable time frames.           And,

    7    you know, if there's not, then I think we -- I mean, at that point,

    8    if it is just impossible to do, then we talk about trying to

    9    reschedule.     I think it is going to be -- I know Judge Moon is

   10    going to be really reluctant to reschedule the trial date.           And I

   11    think it will be hard to get another, you know, multi-week trial on

   12    his calendar.     So I think for all of the parties' sake I really

   13    want to try and push and see if we're able to keep this trial date.

   14    It may prove that we can't do it.       But, you know, I think we need

   15    to keep giving it a try.

   16               MS. TENZER:    Your Honor, this is Ms. Tenzer.

   17               I appreciate what you're saying.       And, obviously, we

   18    understand Judge Moon's scheduling issues.        And as we have

   19    expressed in the past, we too -- we're trying very hard not to have

   20    to move the trial date.      And when we had the conference at the

   21    beginning of January, you know, when we were discussing the

   22    schedule for the first time and rejiggering the schedule, as I

   23    think we expressed at that time, it was very much our hope that we

   24    wouldn't have to move the trial date.        And that's when we moved the

   25    fact discovery cutoff date.      But we're now almost two months from
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 16 of 19 Pageid#: 3943
                                                                               16



    1    that conference and not much has changed.

    2               And I appreciate that everybody is trying and now we

    3    -- you know, we have the contract signed by some of the defendants

    4    and some of it is moving forward.       But -- and I know I said this

    5    before, but I think realistically it doesn't look like we're going

    6    to have the defendants' documents much before the end of the

    7    discovery cutoff, which would just make it impossible for us to

    8    meaningfully prepare for their deposition.

    9               THE COURT:    Right.   Well -- and I -- you know, what I

   10    want to do is see when you are able to get those documents.           And

   11    I'm going to make sure that you have time to make use of those

   12    documents for the depositions.       But I also want to see how that is

   13    going to -- you know, over the next couple of months, see how that

   14    is going to fit into the rest of the schedule and what impact, you

   15    know, that has on -- on, really, the dispositive motions deadline,

   16    because, you know, I would think that if this is discovery that you

   17    need more for preparing for trial, you know, rather than on

   18    dispositive motions, then it may not be necessary to move the trial

   19    date.   But if this is discovery that, you know, the plaintiffs are

   20    going to need to oppose any of the defendants' possibly forthcoming

   21    dispositive motions, then, you know, we have -- that is something

   22    that we'll have to -- have to address.

   23               And, you know, I'll make sure that you-all have your

   24    opportunity to -- you know, to have the discovery that you believe

   25    is necessary to oppose any motions, and then also that the
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 17 of 19 Pageid#: 3944
                                                                               17



    1    defendants have the discovery that they think is necessary, if they

    2    are going to file any motions.         But I want to hold off and see how

    3    things go over the next month, six weeks or so.

    4                MS. TENZER:     Okay.    I -- obviously, we respect what Your

    5    Honor has said.    I think, just looking down the pike and just

    6    seeing how things have gone even over the last week, I don't see

    7    how we would get the documents and be able to finish depositions

    8    even by the existing trial date.         I mean, if we don't have

    9    documents until April, they are -- we probably wouldn't take -- we

   10    wouldn't be able to even start depositions until later in April.

   11    And there are a number of defendants that would need to be deposed,

   12    which would probably take us, you know, into June.          But maybe we

   13    can put our heads together.         And since we're going to have another

   14    call next week, hopefully maybe we can think about this and maybe

   15    revisit it next week.

   16                THE COURT:    And, Ms. Tenzer, you may be absolutely right.

   17    But let's -- you know, let's see -- let's see how it goes.           And,

   18    you know, keep the conversation open.        I don't want to place

   19    unreasonable or impossible demands on the parties.

   20                All right.    Is there anything else that we need to take

   21    up today?

   22                MR. CAMPBELL:     Your Honor, this is Dave Campbell, for

   23    Mr. Fields.

   24                I was just wondering.       Is there any way -- I assume if we

   25    continue attempting to make sure all of the discovery gets done and
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 18 of 19 Pageid#: 3945
                                                                               18



    1    another month passes, that we're probably getting farther and

    2    farther into Judge Moon's trial calendar.        Is there any way to try

    3    to have a tentative kind of hold range, you know, that we start

    4    looking at now, with the hope that we never need to use it, but so

    5    that we don't end up rescheduling, you know, in late March and then

    6    if we're looking into next year or something like that.          Just an

    7    idea, Judge.     I didn't mean to interrupt.

    8                 THE COURT:    I think it is a fine idea.    And I'm certainly

    9    going to be looking into the scheduling options and seeing what is

   10    available.

   11                 MR. CAMPBELL:     Thank you, Your Honor.

   12                 THE COURT:    All right.

   13                 All right.    Anything else to address today, counsel?

   14          (No response.)

   15                 UNIDENTIFIED VOICE:     No, sir.

   16                 THE COURT:    Okay.

   17                 All right.    Well, then, thanks for calling in.      And Karen

   18    will be in touch about scheduling a conference call for next week

   19    to address counsel's status for Mr. Schoep and NSM and NF and also

   20    discovery regarding those defendants.

   21                 MS. TENZER:     Thank you, Your Honor.

   22                 THE COURT:    All right.   If there's nothing further, then,

   23    have a good day.

   24                 UNIDENTIFIED VOICE:     Thank you, Your Honor.

   25                 THE COURT:    All right.   Bye.
Case 3:17-cv-00072-NKM-JCH Document 429 Filed 02/25/19 Page 19 of 19 Pageid#: 3946
                                                                               19



    1          (Thereupon, these proceedings were adjourned at 3:34 p.m.)

    2

    3          I, court-approved transcriber, certify that the foregoing is a

    4    correct transcript from the official electronic sound recording of

    5    the proceedings in the above-entitled matter.

    6             /s/ Carol Jacobs White                      January 25, 2019
               Signature of Approved Transcriber                Date
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